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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,                        :
                                                 :       Criminal Action No.: 21-0128 (RC)
       v.                                        :
                                                 :       Re Document No.:       67
WILLIAM POPE,                                    :
                                                 :
       Defendant.                                :

                                             ORDER

              DENYING DEFENDANT’S MOTION TO MODIFY PROTECTIVE ORDER

       Defendant William Pope was indicted on charges arising out of his alleged participation

in the riot at the Capitol on January 6, 2021. See Superseding Indictment, ECF No. 46. On the

Government’s unopposed motion, see Gov’t’s Unopposed Mot. Protective Order, ECF No. 23,

the Court entered a protective order to govern discovery under Fed. R. Crim. P. 16(d)(1), see

Protective Order, ECF No. 26. Among other things, the protective order provides for differential

treatment of case-specific and global discovery material bearing different sensitivity

designations. 1 Specifically, as relevant here, it permits Defendant to possess “Sensitive”

material but only permits Defendant to view “Highly Sensitive” material. See id. at 2–4. The

Highly Sensitive material in question is U.S. Capitol Police (“USCP”) CCTV surveillance



       1
          Case-specific discovery refers to discovery that is particular to Defendant, while global
discovery refers to discovery that has been made available to all January 6 defendants. See
Gov’t’s Req. Faretta Inquiry at 2, ECF No. 60. The Government made three case-specific
productions, each of which included material designated as “Sensitive” or “Highly Sensitive.”
Id. at 3–4. With respect to global discovery, the Government placed “24,000 files consisting of
body-worn and hand-held camera footage from five law enforcement agencies and surveillance-
camera footage from three law enforcement agencies” into an “evidence.com video repository”
managed and administered by the Federal Public Defender for the District of Columbia. Id. at 4.
Over 20,000 of these files consist of U.S. Capitol Police CCTV surveillance footage designated
as “Sensitive” or “Highly Sensitive.” Id. All other global discovery materials—totaling almost
2.2 million files—were provided via a Relativity database. See id. at 5.
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footage of the Capitol on January 6. 2 While the protective order permits Defendant to view

material designated Highly Sensitive, it requires that he do so only under supervision of defense

counsel or an attorney, investigator, paralegal, or support staff person employed by defense

counsel. Id. The order specifies that defense counsel, may, after notice to the Government,

“supervise Defendant by allowing access to Highly Sensitive materials through a cloud-based

delivery system that permits Defendant to view the materials but does not permit Defendant the

ability to download.” Id. at 4. Now proceeding pro se, 3 Defendant moves to modify the

protective order to permit him to directly access and possess USCP surveillance video designated

Highly Sensitive. See generally Def.’s Mot. Modify Protective Order (“Def.’s Mot.”), ECF No.

67.

       Federal Rule of Criminal Procedure 16 “requires the Government to produce, upon the

defendant’s request, any documents and data that are material to preparing the defense.” United

States v. McCaughey, 534 F. Supp. 3d 132, 137 (D.D.C. 2021) (citation omitted); see Fed. R.

Crim P. 16(a)(1)(A)–(G). However, it also provides the Court discretion to regulate discovery,

permitting it to “deny, restrict, or defer discovery or inspection, or grant other appropriate relief”



       2
        Other types of materials were also designated as Highly Sensitive. See, e.g., Gov’t’s
Req. Faretta Inquiry at 4 (listing Grant Jury material produced to Defendant as designated
Highly Sensitive). However, Defendant’s motion focuses exclusively on USCP surveillance
video marked Highly Sensitive, so the Court’s analysis also focuses on such material.
       3
          On June 29, 2021, Defendant’s counsel moved to withdraw and indicated that
Defendant intended to proceed pro se. See Mot. Withdraw at 1, ECF No. 57. The Government
did not oppose Defendant’s motion, but emphasized that, before allowing Defendant to proceed
pro se, the Court should “correct Defendant’s faulty assumption” that proceeding pro se would
entitle him to ignore the protective order and gain direct access to the discovery database.
Gov’t’s Req. Faretta Inquiry at 1. The Court held a Faretta hearing at which it found Defendant
competent to waive counsel and ordered standby counsel appointed, while also stating that the
protective order would remain in place pending any motion to modify it after Defendant had a
chance to confer with standby counsel. See Minute Order (Aug. 2, 2022). Nicole Cubbage was
thereafter appointed as standby counsel. See Notice of Att’y Appearance, ECF No. 61.
                                                  2
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on a showing of “good cause.” Fed. R. Crim. P. 16(d)(1). “[A]mong the considerations to be

taken into account by the court [are] the safety of witnesses and others, a particular danger of

perjury or witness intimidation, [and] the protection of information vital to national security.”

United States v. Cordova, 806 F.3d 1085, 1090 (D.C. Cir. 2015) (citation omitted). “[O]nce a

showing of good cause has been made, the court has relatively unconstrained discretion to

fashion an appropriate protective order.” United States v. Johnson, 314 F. Supp. 3d 248, 251

(D.D.C. 2018).

       Here, Defendant argues that the protective order’s restrictions violate his Sixth

Amendment right to conduct his own defense. 4 See Def.’s Mot. at 1–5. While the Court




       4
          Defendant also argues that the requirement for standby counsel to supervise his access
to Highly Sensitive material violates his Equal Protection and Due Process rights. See Def.’s
Mot. at 2–4. These arguments are without merit. A “class of one” Equal Protection claim
alleges that the party “has been intentionally treated differently from others similarly situated and
that there is no rational basis for the difference in treatment.” Village of Willowbrook v. Olech,
528 U.S. 562, 564 (2000). But Defendant focuses exclusively on comparing his situation to that
of represented defendants, and makes no allegations that similarly situated pro se defendants
have been treated differently without any rational basis. See Def.’s Mot. at 5–6; see also Gov’t’s
Opp’n at 7–8, ECF No. 71 (explaining that “none of the other 900+ January 6 defendants have
received . . . direct unsupervised access to global discovery” and that “standby counsel has been
appointed [to facilitate access to discovery] in every [January 6] case” involving a pro se
defendant).

        With respect to Defendant’s Due Process argument, Defendant does not contest that, in
addition to the ability to possess and control Sensitive material and still images of video
designated Highly Sensitive, he has full access to view all Highly Sensitive material, even
though he must undertake procedures in order to do so under the supervision of standby counsel.
Instead, Defendant alleges that a journalist released a video designated as Highly Sensitive, and
that this somehow establishes a Brady violation. See Def.’s Mot. at 19. Setting aside the fact
that Defendant has access to Highly Sensitive material so there is no allegation that anything was
actually withheld, the protective order explicitly exempts from its requirements “[m]aterials that
the defense obtains by means other than discovery.” Protective Order ¶ 11. Absent specific
allegations of exculpatory material actually withheld, the Court can see no violation of the
Government’s continuing obligations under Brady v. Maryland, 373 U.S. 83 (1963). See United
States v. Ruiz, 536 U.S. 622, 629 (2002) (“[T]he Constitution does not require the prosecutor to
share all useful information with the defendant.”).
                                                 3
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acknowledges that the protective order’s restrictions may pose some inconvenience to

Defendant, it finds that they are based on good cause and do not violate Defendant’s right to

conduct his defense.

       The Government has established good cause for the requirement that standby counsel

mediate Defendant’s access to USCP surveillance footage designated Highly Sensitive. The

Government submits a declaration from Thomas A. DiBiase, the General Counsel of the USCP.

See DiBiase Decl., Ex. A to Gov’t’s Opp’n, ECF No. 71-1. Mr. DiBiase, quoting language

USCP has included in motions for protective orders in criminal cases in D.C. Superior Court,

explains that “the purpose of the [Capitol surveillance] cameras is to assist in the maintenance of

national security by detecting threats to U.S. Congressmen, their staff, and constituents, deterring

and preventing terrorism, and providing for the safety and security of the Capitol Building and

Grounds.” Id. ¶¶ 8–9. He goes on to explain that USCP has “significant concerns with the

release of any of its footage to defendants in the Capitol attack cases unless there are safeguards

in place to prevent its copying and dissemination.” Id. ¶ 14. This is based on USCP’s awareness

that participants in the January 6 riot made efforts to “gather information regarding the interior of

the U.S. Capitol, including references to the tunnels below the Grounds and maps of the

building’s layout.” Id. He explains USCP’s concern that “unfettered access to hours of

extremely sensitive information” would result in “vulnerabilities and security weaknesses of the

U.S. Capitol being collected, exposed and passed on to those who might wish to attack the

Capitol again.” Id. On this basis, and in line with the approach taken by other courts in this

District, see, e.g., Min. Order, United States v. Clark, No. 22-cr-409 (Feb. 8, 2023) (denying pro

se January 6 defendant “unrestricted access to the online discovery databases”); Order at 3–4,

United States v. White, No. 21-cr-563 (Oct. 17, 2022) (appointing standby counsel to facilitate



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pro se January 6 defendant’s access to discovery consistent with the protective order), the Court

finds that good cause exists for the protective order’s requirement that Defendant have

supervised, view-only access to Highly Sensitive CCTV footage, see United States v. Concord

Mgmt. & Consulting, 404 F. Supp. 3d 67, 73 (D.D.C. 2019) (“It is well established that

protective orders are appropriate where the disclosure of discovery could jeopardize the national

security of the United States . . . .”).

        To be sure, as Defendant points out, the good cause analysis is complicated somewhat by

recent reports that leadership in the House of Representatives has provided access to view the

CCTV footage to personnel from Tucker Carlson Tonight, a Fox News television show. See

Def.’s Update Disc. Access Issues at 1–2, ECF No. 85; Mike Allen, McCarthy gives Tucker

Carlson access to trove of Jan. 6 riot tape, Axios, Feb. 20, 2023,

https://www.axios.com/2023/02/20/kevin-mccarthy-tucker-carlson-jan-6-riot-footage. However,

according to a supplemental declaration from Mr. DiBiase, House leadership only provided

personnel from the show access to view the footage using terminals in a House Office Building,

and there only while “supervised by staff from [the Committee on House Administration].”

DiBiase Suppl. Decl. ¶¶ 10–11, ECF No. 88-1. Mr. DiBiase explains that he was “informed that

. . . no footage had been physically turned over to the show,” id. ¶ 11, though he acknowledges

that approximately forty-one clips were ultimately shown during the Tucker Carlson Tonight

show on March 6 and March 7, 2023, see id. ¶ 14. Still, Mr. DiBiase states that just one of those

clips was designated Sensitive, and that clip was shown to him and approved for release ahead of

time. See id.

        There is considerable uncertainty as to whether and how House leadership will make any

future disclosures. Many reports suggest that House leadership will proceed cautiously, sensitive



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to the same concerns animating the Court’s finding of good cause. See, e.g., Emily Brooks &

Mike Lillis, McCarthy, GOP pump brakes on release of Jan. 6 footage to Tucker Carlson, THE

HILL, Feb. 28, 2023, https://thehill.com/homenews/house/3878242-mccarthy-gop-pump-brakes-

on-release-of-jan-6-footage-to-tucker-carlson/. 5 Others suggest a somewhat more cavalier

approach. See, e.g., Lawrence Richard, McCarthy says Republicans will ‘slowly roll out’ Jan. 6

footage to ‘every’ news agency: ‘Goal is transparency,’ Fox News, Mar. 13, 2023,

https://www.foxnews.com/politics/mccarthy-republicans-slowly-roll-out-jan-6-footage-every-

news-agency-goal-transparency. 6 However this dynamic situation evolves, at this juncture, the

parties point to no additional disclosure of non-public CCTV footage beyond the mediated

access provided by House leadership to the Tucker Carlson Tonight show. See Gov’t’s Mem.

Supp. DiBiase Suppl. Decl. and Protective Order at 1, ECF No. 90 (“Upon information and

belief, no media organizations other than the [Tucker Carlson Tonight show] has been given




       5
         For example, this article quotes Speaker of the House Kevin McCarthy as saying,
“[w]e’re working through [the footage]. We work with the Capitol Police as well, so we’ll make
sure security is taken care of.” Brooks & Lillis. It reports that Speaker McCarthy “stressed” that
Tucker Carlson Tonight personnel were not interested in footage showing “exit routes.” Id. It
also quotes Representative Barry Loudermilk, the chairman of the House Administration
Committee on Oversight, as saying that he and others were “working on putting protocols
together and policies and procedures and schedules” to govern footage disclosures. Id.
Representative Loudermilk also described the Tucker Carlson show’s access as limited and
subject to security review, saying: “It’s basically controlled access to be able to view tapes.
Can’t record, can’t take anything with you. Then they will request any particular clips that—that
they may need, and then we’ll make sure that there’s nothing sensitive, nothing classified—you
know, escape routes.” Id.
       6
         Notably, even in the interview reported on in this article, Speaker McCarthy suggests
that news agencies only would be able to obtain access to the footage by coming to view it at the
Capitol: “I didn’t give [Carlson] the tapes, I allowed him to come see them, just like an exclusive
with anybody else. . . . We will slowly roll out to every individual news agency [so] they could
come see the tapes as well.” Richard.

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access to the material at issue in this case.”). 7 The fact of that mediated access alone, based on

the information presently available to the Court, does not defeat the security interest advanced by

the protective order in preventing unmediated access to Highly Sensitive material by Defendant. 8

Cf. United States v. Cudd, 534 F. Supp. 3d 48, 54 (D.D.C. 2021) (“[T]hat video footage of the

January 6 events is publicly available does not diminish the need for confidentiality of the

[CCTV] footage . . . .”).




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         It also bears mention that Tucker Carlson reportedly no longer hosts a show on Fox
News. See Oliver Darcy & Marshall Cohen, Tucker Carlson Out at Fox News, CNN, Apr. 24,
2023, https://www.cnn.com/2023/04/24/media/tucker-carlson-fox-news/index.html.
       8
          Defendant has separately moved to remove the Sensitive designation from certain
footage in order to share exhibits with news organizations, based on his belief that “the media
and the public should not have to rely on [his] descriptions [of this footage] alone” and the
“public interest and concern regarding these exhibits is understandably high.” Def.’s Mot.
Remove Sensitive Designations at 1–2, 4, ECF No. 82; see also Def.’s Update Disc. Access
Issues at 4 (“My motion seeks to unseal [certain footage] to allow the American people to see
exactly what happened.”). At the same time, Defendant acknowledges that he does not
understand and feels no obligation to protect, beyond following the protective order, the Court’s
interest in preventing pretrial publicity that could prejudice the parties, witnesses, or third parties
involved in this case or any of the many other January 6 cases. See Def.’s Resp. Gov’t’s Mem.
(“Def.’s Suppl. Mem.”) at 7, ECF No. 95 (“First off, I do not know if [an ethical code on pretrial
publicity] exist[s], as the government tends to make things up. . . . I am not an attorney and have
no intention to become one, and I do not know what the ethical standards of the lawyering trade
are.” (footnotes omitted)). This bolsters the Court’s finding of good cause to prevent Defendant
from obtaining unfettered access to footage designated Highly Sensitive. See Gannett Co. v.
DePasquale, 443 U.S. 368, 378 (1979) (explaining that “a trial judge has an affirmative
constitutional duty to minimize the effects of prejudicial pretrial publicity” and accordingly “may
surely take protective measures even when they are not strictly and inescapably necessary”);
United States v. Cudd, 534 F. Supp. 3d 48, 56 (D.D.C. 2021) (rejecting January 6 defendant’s
“concern . . . about the limitations on her ability to try this case in the court of public opinion
pretrial through dissemination of selected evidence” under a similar protective order on grounds
that “[t]he Court’s priority is to ensure fair criminal trials to the Government, [the defendant],
and other defendants related to the January 6 incident, not cater to parties’ interests in selective
disclosures to the media” and “pretrial publicity of discovery in this case may injure other
defendants, witnesses, and third parties whose personal information was collected in the
Government’s investigation”).


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       In addition, the protective order’s restrictions do not violate Defendant’s right to conduct

his defense. Under the Sixth Amendment, a pro se defendant has the right to “control the

organization and content of his own defense, to make motions, to argue points of law, to

participate in voir dire, to question witnesses, and to address the court and the jury at appropriate

points in the trial.” McKaskle v. Wiggins, 465 U.S. 168, 174 (1984). However, the Court

“may—even over objection by the accused—appoint a ‘standby counsel to aid the accused.”

Farretta v. Cal., 422 U.S. 806, 834 n.46 (1975). Still, a pro se defendant “is entitled to preserve

actual control over the case he chooses to present to the jury,” so participation by standby

counsel over the defendant’s objection must not “substantially interfere with any significant

tactical decisions” made by the defendant. McKaskle v. Wiggins, 465 U.S. 168, 178 (1984).

       At the outset, it bears repeating that Defendant has full access to possess all Sensitive

materials and to view all Highly Sensitive material under supervision by standby counsel. See

Protective Order ¶¶ 4–6. In addition, Defendant may create still images from Highly Sensitive

footage for use in this case. See Gov’t’s Resp. to Def.’s Status Report (“Gov’t’s Suppl. Mem.”)

at 4, ECF No. 80. The protective order also provides for a process by which Defendant can

dispute a sensitivity designation or seek redactions that would reduce or eliminate a sensitivity

designation. 9 See Protective Order ¶ 8.

       Defendant explained during a December 2, 2022 conference that he is primarily

frustrated by technological delays in gaining access to view large volumes of Highly Sensitive

material due to the fact that he resides in Topeka, Kansas, while standby counsel, who provides

him viewing access through a cloud-based service, is based in Washington D.C. At the Court’s



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         Indeed, as noted supra note 8, Defendant has already moved to remove the Sensitive
designation from certain footage. See generally Def.’s Mot. Remove Sensitive Designations.


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suggestion, Defendant explored options for a local attorney to assist standby counsel by

supervising Defendant in person, thereby eliminating any remote-access delays. See generally

Def.’s Status Update, ECF No. 78. Defendant identified a local attorney located approximately

35 minutes away from his home that could provide Defendant a conference room and supervise

him for several hours per week. 10 Id. at 9–10.

       The Government blesses this option as “eminently reasonable,” Gov’t’s Suppl. Mem. at

2, but Defendant complains that traveling the 35 minutes to the office of this attorney, whom he

chose to contact in the first place, “would cost [him] time and money” and therefore constitutes a

“Jim Crow era poll tax[].” Def.’s Status Report at 11. Defendant’s decision to reject this

available option to enhance the efficiency of his review of Highly Sensitive material does not

alter the Court’s conclusion that the protective order’s restrictions are based on good cause and

do not violate Defendant’s right to conduct his defense. Defendant retains access to review

Highly Sensitive material, and any inconvenience associated with the requirement for standby

counsel to supervise that review merely reflects an appropriate balance, envisioned by the

Federal Rules of Criminal Procedure, between Defendant’s entitlement to discovery of evidence

“material” to his defense and “the protection of information vital to the national security.” Fed.

R. Crim. P. 16(a)(1)(E); id. Advisory Comm. Notes to 1966 Amendment; cf. United States v.

Workman, No. 18-cr-20, 2019 WL 276843, at *2 (W.D. Va. Jan. 22, 2019) (“Although

[defendant] argues that the requirement that he meet with his counsel to review the discovery

materials is inconvenient and burdensome because he will have to take approximately 50 hours




       10
          As reported by Defendant, the attorney agreed to accommodate him for four hours per
week and “believe[s]” that he will be able to accommodate him for eight or more hours per week
after moving offices this month. See Def.’s Status Report at 9–10. The Court remains willing to
appoint this or another local attorney to assist Defendant at his request.
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off work to do so, the hardship to him is relatively minor in light of the potential for harm to the

government’s witnesses.”).

       Contrary to Defendant’s overheated complaints of injury from the protective order, see,

e.g., Def.’s Update Disc. Access Issues at 8–9 (claiming that the Government, in seeking to

enforce the protective order, has “behaved like rabid outlaws rushing the city jail in a western

movie, whooping and hollering for this court to violate my Constitutional rights and to rush me

to the nearest tree with a noose around my neck,” and comparing this “deviance from justice” to

“the institution of slavery, the brutalization of native Americans, and the internment of Japanese-

Americans”), standby counsel simply acts as a conduit to provide Defendant viewing access to

Highly Sensitive material, a role that involves no interference with Defendant’s tactical decisions

whatsoever. See United States v. Williamson, No. 20-cr-195, 2021 WL 5178853, at *2 (D.D.C.

Nov. 8, 2021) (finding that order requiring standby counsel to review and file all pretrial motions

to prevent frivolous motions does not violate defendant’s ability to conduct his own defense). As

another court in this District recently explained in a January 6 case, standby counsel’s “narrow”

role of facilitating access to discovery does not “in any way impact [Defendant’s] ability to

‘present [his] own case in [his] own way.” Order at 3, United States v. White, No. 21-cr-563

(Oct. 17, 2022) (quoting McKaskle, 465 U.S. at 177).

       For the foregoing reasons, it is hereby ORDERED that Defendant’s Motion to Modify

the Protective Order, ECF No. 67, is DENIED.

       SO ORDERED.


Dated: April 26, 2023                                               RUDOLPH CONTRERAS
                                                                    United States District Judge




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